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                    EXHIBIT 2
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                                                                          Page 1

 1                UNITED STATES DISTRICT COURT
 2                    FOR THE DISTRICT OF MASSACHUSETTS
 3                Civil Action No. 1:19-cv-12235-LTS
 4
 5      JOSEPH MANTHA, on behalf of himself,
 6      and all others similarly situated,
 7                                       Plaintiff,
 8      V.
 9      QUOTEWIZARD.COM, LLC,
10                                       Defendant.
11
12
13                        Remote videotaped deposition of
14      DEREK PADON, a witness called on behalf of the
15      Defendant, taken pursuant to the Federal Rules of Civil
16      Procedure, before Lori Atkinson, Notary Public in and
17      for the Commonwealth of Massachusetts and Professional
18      Shorthand Reporter, conducted via Zoom on
19      Friday, September 11, 2020, commencing at 11:16 a.m.
20
21
22
23      Job No. NE 4222188
24


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                                             Page 2                                                              Page 4
 1 A P P E A R A N C E S:                              1               PROCEEDINGS
 2 FOR THE PLAINTIFF:                                  2         THE VIDEOGRAPHER: Good morning. We are now
 3 Edward A. Broderick, Esq.                           3 on the record. This is the video operator speaking,
 4 The Law Office of Edward A. Broderick               4 Gail Ashton, with Veritext. Today's date is
 5 208 Ridge Street                                    5 September 11, 2020 and the time is 11:16 a.m.
 6 Winchester, MA 01890                                6 We here to take the remote video deposition of
 7 Ted@broderick-law.com                               7 Derek Padon in the matter of Joseph Mantha versus
 8                                                     8 QuoteWizard.com.
 9 FOR THE DEFENDANT, QUOTEWIZARD.COM, LLC:            9         Will counsel please introduce themselves for
10 Christine Kingston, Esq.                           10 the record.
11 Nelson Mullins Riley & Scarborough LLP             11         MS. KINGSTON: Good morning. Attorney
12 One Post Office Square, 30th Floor                 12 Christine Kingston on behalf the QuoteWizard.com LLC.
13 Boston, MA 02109                                   13         MR. BRODERICK: Good morning.
14 617.217.4700                                       14 Edward Broderick on behalf of the plaintiff,
15 Christine.kingston@nelsonmullins.com               15 Joseph Mantha.
16                                                    16         THE COURT REPORTER: Will counsel present,
17                                                    17 please stipulate to the swearing in of the witness
18                                                    18 remotely.
19                                                    19         MS. KINGSTON: Yes, on behalf of
20                                                    20 QuoteWizard.
21                                                    21         MR. BRODERICK: Yes, on behalf of
22                                                    22 Plaintiffs.
23                                                    23         THE COURT REPORTER: Mr. Padon, would you
24                                                    24 raise your right hand, please.

                                             Page 3                                                              Page 5
 1             INDEX                                   1         (Witness complies.)
 2 WITNESS                              PAGE           2         THE COURT REPORTER: Do you solemnly swear
 3 DEREK PADON                                         3 or affirm that the testimony you are about to give is
 4 By Ms. Kingston                      5, 96          4 the truth, the whole truth, and nothing but the truth?
 5 By Mr. Broderick                       94           5         THE WITNESS: I do.
 6                                                     6            DEREK PADON,
 7                                                     7 having been satisfactorily identified and first duly
 8        EXHIBITS                                     8 sworn by the Notary Public, was examined and testified
 9                                                     9 as follows:
10 Number Description                       Page
                                                      10            DIRECT EXAMINATION
11 Ex 1     Subpoena                      23
                                                      11 BY MS. KINGSTON:
12
                                                      12 Q. Good morning, Mr. Padon, as I mentioned my name
   Ex 2     Cell phone reimbursement
                                                      13 is Christine Kingston. I will be taking your deposition
13        Policy                     60
                                                      14 here this morning.
14
15                                                    15         MS. KINGSTON: Just to start off, Ted, for
16                                                    16 some stipulations. Just the usual ones we have been
17                                                    17 going with. All objections, except as to form, reserved
18                                                    18 until the trial of the trial as are motions to strike.
19                                                    19         MR. BRODERICK: Agreed.
20                                                    20         MS. KINGSTON: 30 days for the witness to
21                                                    21 read and sign?
22     ****Exhibits retained electronically.***       22         MR. BRODERICK: Agreed.
23                                                    23         MS. KINGSTON: And I'm happy to waive
24                                                    24 notary, if you are.

                                                                                                    2 (Pages 2 - 5)
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                                                      Page 6                                                          Page 8
 1         MR. BRODERICK: Sure.                                 1 and high school. There's approximately a hundred kids.
 2 BY MS. KINGSTON:                                             2 About half of those stay here on campus with us in a
 3 Q. Mr. Padon, just a couple of ground rules before           3 residential group home setting and the other half go
 4 we get started. If you don't understand my question at       4 home to their families.
 5 any point, just let me know. I'm happy to rephrase           5 Q. About how many students total?
 6 that. If at any point, you need a break, just let me         6 A. It's about a hundred.
 7 know, we are happy to accommodate you. It is important       7 Q. Hundred total. How many stay on campus?
 8 that you have only oral and audible answers. Try not         8 A. Between 50 and 60.
 9 answer by shaking your head "yes" or "no"; something         9 Q. Okay. What is the duration of the school year?
10 oral on the record.                                         10 A. Year round.
11      Finally, since we are doing this virtually, if at      11 Q. So even through the summer?
12 any time you are having technological problems, you         12 A. Yes.
13 can't hear me, you can't see me, just stop me and let me    13 Q. Are there any breaks in the school year?
14 know. Okay?                                                 14 A. There are, yeah. School vacations and then there
15 A. Okay.                                                    15 is two weeks in the summer that they take the weeks off.
16 Q. Can you please state your full name for the              16 Q. Do you know what weeks those are?
17 record?                                                     17 A. I don't.
18 A. Derek James Padon.                                       18 Q. Do you know what month?
19 Q. Now, are you currently employed?                         19 A. One is at the end of August. The other is the
20 A. I am.                                                    20 end of June, June into July.
21 Q. Where are you employed?                                  21 Q. And I think you mentioned a couple or other
22 A. Doctor Franklin Perkins School.                          22 breaks during the year?
23 Q. We are going to be talking about the school a lot        23 A. So, yeah, your traditional school vacations. I
24 today, is there a good shorthand for that?                  24 don't know what they are.
                                                      Page 7                                                          Page 9
 1 A. Perkins.                                                  1 Q. Do you know the approximate time of the year?
 2 Q. Perkins. If I use the term "Perkins," you know            2 Month?
 3 that I'm referring to the school?                            3 A. I don't. I'm in human resources so I'm not on
 4 A. Correct.                                                  4 that side of the operations.
 5 Q. How long have you worked at the Perkins School?           5 Q. Okay.
 6 A. Four years on October 11th of 2020.                       6      And you mentioned, I think you said 50 to 60
 7 Q. What is your job title there?                             7 students live on the campus?
 8 A. Vice president of human resources.                        8 A. Yes.
 9 Q. What does that job entitle?                               9 Q. Do you have dorms for them to live in?
10 A. Managing the day-to-day human resources functions        10 A. We do.
11 of the entire -- the entire scope.                          11 Q. Is that what you refer to them as dorms?
12 Q. When you say entire school, are there multiple           12 A. We call them group homes.
13 parts of the school?                                        13 Q. How many of those do you have?
14 A. We have different divisions.                             14 A. Six.
15 Q. Could you just give me a brief overview of those         15 Q. Six. Okay. How big is the -- how many -- do you
16 divisions?                                                  16 know how many approximate acres we are talking at the
17 A. Yes. We have special education, residential              17 school?
18 services, child development center, Rein In A Dream, and    18 A. No.
19 adult and elder services.                                   19 Q. How big would you describe?
20 Q. I think the first one you said is special                20 A. It's big. You mean like the entire campus or?
21 education?                                                  21 Q. Yeah.
22 A. Yes.                                                     22 A. I mean I don't -- I honestly couldn't even guess.
23 Q. What does that involve?                                  23 Q. Is it akin to like a college campus?
24 A. So we have three schools; an elementary, middle,         24 A. Yeah. I would say like a small college campus.

                                                                                                       3 (Pages 6 - 9)
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                                                     Page 10                                                        Page 12
 1 Q. Are all six of the group homes in one location on         1 Q. I think the next division you mentioned childhood
 2 the campus?                                                  2 development. Do I have that down correctly?
 3 A. Mostly. There's five that are a sort of next to           3 A. We call it the child development center and
 4 each other and then there is a sixth one which is like       4 that's a traditional preschool.
 5 sort of across the street, I guess.                          5 Q. How many students are in that?
 6 Q. Is that about ten students in each home                   6 A. Honestly, I have no idea.
 7 approximately?                                               7 Q. There is a separate building from the building
 8 A. Yes.                                                      8 that we spoke about earlier?
 9 Q. Is there any staff members who would live in the          9 A. Correct.
10 group home during the year?                                 10 Q. The next one that you mentioned is Rein In?
11 A. No.                                                      11 A. Rein In A Dream. It is a horsemanship program.
12 Q. Are there any staff members who live on the              12 They do about 50 percent community-based therapeutic
13 campus?                                                     13 riding instruction. And they also provide it for our
14 A. No.                                                      14 hundred'ish kids as well.
15 Q. During the school year are they -- strike that.          15 Q. There are some people who would come in from
16      During a typical day, where would those students       16 outside the community to participate in the program; is
17 be?                                                         17 that correct?
18 A. On a typical day at the school from approximately        18 A. Yes.
19 -- I don't know the exact time, approximately -- I go       19 Q. Then the other half are the students who are
20 based on the staff schedule between 7:30 and 3:30.          20 living on the campus?
21 Q. When you say "school," are there certain                 21 A. Yes.
22 buildings where they are being taught during the day?       22 Q. And then I think you mentioned an adult program?
23 A. Yes.                                                     23 A. Adult and elderly services, yes.
24 Q. Can you just give me a general overview of those         24 Q. Adult and elder services. Okay.
                                                     Page 11                                                        Page 13
 1 buildings?                                                   1       What does that involve?
 2 A. One is an elementary school, one is a middle              2 A. They have three sub programs there. One would be
 3 school, and other is the high school.                        3 a vocational program for about 80 individuals who they
 4 Q. Are those three separate buildings?                       4 would provide vocational services for. There is a small
 5 A. Yes.                                                      5 residential component there where we have four
 6 Q. Are there any other buildings that would be there         6 apartments with either two or three residents in them.
 7 during the day besides the group homes or the schools?       7 And then we have a very small elder services division
 8 A. The only place I can think of is we have a gym            8 that I think -- I'm just thinking it is around six
 9 and pool facility so possibly there.                         9 clients. It 's not a whole lot. Those serve an elderly
10 Q. Besides the group home, the school building or           10 population with developmental disabilities.
11 the gym and pool, that's it; right?                         11 Q. In that program, I think you mentioned two to
12 A. Yes. They are just on the campus.                        12 three residents live in four apartments?
13 Q. I think the second we were taking about kind of          13 A. Yes.
14 the divisions, I think you used that word, and you          14 Q. Is that the total of people of that division who
15 mentioned residential?                                      15 live on campus?
16 A. Yes.                                                     16 A. Yes. Yes.
17 Q. Were you referring to the six group homes?               17 Q. On the campus you have the 50 to 60 students and
18 A. Yes.                                                     18 elementary to high school plus these two to three adult
19 Q. Is there anyone else who lives on the campus             19 to elder residents; is that correct?
20 besides the students?                                       20 A. Yes.
21 A. Just the kids.                                           21 Q. Is there anyone else who lives on the campus?
22 Q. Just the 50 to 60 kids that you mentioned,               22 A. No. There is really no where here for staff to
23 approximately?                                              23 live.
24 A. Correct.                                                 24 Q. Is anyone supervising the students in the

                                                                                                     4 (Pages 10 - 13)
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                                                       Page 14                                                       Page 16
 1 evening?                                                       1 there.
 2 A. Repeat that.                                                2 Q. Three to four staff members in each group home?
 3 Q. Is anyone supervising the students in the                   3 A. Yes.
 4 evening?                                                       4 Q. That be would be the shift supervisor and then I
 5 A. Yes.                                                        5 think you used the term residential counselor?
 6 Q. At some point do they go home?                              6 A. Correct.
 7 A. Not the ones that stay on campus.                           7 Q. Do you know -- do those employees report to
 8 Q. When you say, the ones that stay on campus, are             8 anyone directly?
 9 you referring to students or staff?                            9 A. The program director.
10 A. Let me ask this you first: Are we still on the             10 Q. Who is that?
11 adult and elder services division still?                      11 A. There are six of them. There is one for each.
12 Q. Let's focus on the special education division for          12 There is one for each of the group homes.
13 now. I'm trying to get a sense, I know that there are         13 Q. Do you have their names?
14 50 to 60 students that live there. I'm trying to get a        14 A. Yes.
15 sense of when the staff is there watching or                  15 Q. Could you tell us the names for each of the six
16 supervising?                                                  16 program directors?
17 A. So like we talked about, during the day that we            17 A. Just the first name or?
18 are generally at school, we do have kids who refuse and       18 Q. Full.
19 if they refuse then we'd have teaching assistants and         19 A. I guess it's not confidential. It is Joe Howell.
20 residential counselors stay back in their residential         20 Q. Who do you spell the last name?
21 group home with them.                                         21 A. H-O-W-E-L-L.
22      Then we have a 2 to 10 shift that is staffed with        22      Amanda Saunders; Kelley Gross; Bill Czy, C-Z-Y;
23 residential counselors and a shift supervisor for each        23      Dillon -- his name is escaping me. I can look it
24 -- there is a shift supervisor for each of the six group      24 up right here if that's appropriate.
                                                       Page 15                                                       Page 17
 1 homes.                                                         1 Q. We can do that during a break.
 2      Then evening shift, we have -- it's staffed with          2 A. I'm missing somebody. That is one, two, three,
 3 night awakes, which is essentially the same thing as           3 four, five -- and Timothy O'Day.
 4 residential counselor although the clients or students         4 Q. O, apostrophe, D-A-Y?
 5 are sleeping and that is managed by a night                    5 A. O, apostrophe, D-A-Y, yes.
 6 administrative supervisor.                                     6 Q. Bill C-Z-Y?
 7 Q. What are the hours for the night -- for the                 7 A. Yes.
 8 evening shift?                                                 8 Q. Those are the six program directors for each of
 9 A. Ten a.m. -- 10 p.m. to 8:00 a.m.                            9 the group homes; is that right?
10 Q. It's safe to say that at no point are the                  10 A. Yes.
11 students unsupervised?                                        11 Q. Do they report to anybody?
12 A. Never.                                                     12 A. They report to Joe Mantha.
13 Q. During the evening shift, they would be in the             13 Q. What is his title?
14 group homes supervising them; is that right?                  14 A. Director of residential services.
15 A. Correct.                                                   15 Q. Does residential services encompass the two to
16 Q. I think you said there is a shift supervisor for           16 three adult residence that we spoke of earlier?
17 each of the six group homes?                                  17 A. It does not.
18 A. Yes.                                                       18 Q. That's a different division?
19 Q. Then that's also true at the evening shift; is             19 A. Correct.
20 that correct?                                                 20 Q. Does Mr. Mantha report to anyone directly?
21 A. Yes.                                                       21 A. He reports to the chief operating officer, Tim
22 Q. Trying to get a sense in the evening shift, how            22 Hammond.
23 many staff members would be in each group home?               23 Q. Hammond?
24 A. Three to four depending on how many students are           24 A. H-A-M-M-O-N-D.

                                                                                                      5 (Pages 14 - 17)
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                                                     Page 18                                                          Page 20
 1 Q. I think you mentioned earlier you are the vice            1 A. Just -- I did.
 2 president of human resources; is that accurate?              2 Q. When was that?
 3 A. Yes.                                                      3 A. When was it?
 4 Q. In that role are you overseeing each of these             4 Q. Um-hmm.
 5 divisions?                                                   5 A. I want to say about three weeks ago.
 6 A. From an HR perspective, yes.                              6 Q. What did you discuss?
 7 Q. Who do you report to directly, if anyone?                 7 A. I told him that I got -- I received the subpoena.
 8 A. Michael Ames, who is the president and chief              8 He had -- let me backup.
 9 executive officer.                                           9      The subpoena went to my supervisor, who is
10 Q. I think you indicated a CEO and a COO. Are there         10 Michael Ames, who sent Joe an email and let him know
11 any other executives?                                       11 that we had received it. He sent it to me and then I
12 A. Yes. There is a Cindy Wing, who is the chief             12 would follow up with Joe.
13 academic officer. Lisa Harrington who is the chief          13 Q. So Mr. Ames told you to follow up with
14 financial officer. Steve Young, who is the vice             14 Mr. Mantha?
15 president of facilities and information services. There     15 A. Correct.
16 is a Kathy -- Kathy Mills, who is the vice president of     16 Q. Did you do that?
17 organizational advancement.                                 17 A. I did.
18 Q. Those are all the executives, to your knowledge?         18 Q. That was your conversation three weeks ago?
19 A. Yes.                                                     19 A. Yes.
20 Q. Mr. Padon, have you ever been deposed before?            20 Q. What did you two discuss?
21 A. Not in a long time.                                      21 A. I asked him what it was in regards to and he told
22 Q. When were you previously deposed?                        22 me -- to be honest with you, it wasn't anything that had
23 A. I was a witness to a car accident and then I was         23 to do with Perkins or within the scope so I don't recall
24 also a witness to something to do with employment or job    24 a lot of the details. It wasn't necessarily relevant to
                                                     Page 19                                                          Page 21
 1 related. I can't remember it.                                1 myself or to the organization. He had mentioned that he
 2 Q. Was that with respect to the Perkins School?              2 was involved in the lawsuit regarding somebody that was
 3 A. No. It was another organization.                          3 contacting him on his cell phone and that his phone
 4 Q. Have you ever been deposed as a Rule 30(b)(6)             4 number was listed with like Do Not Call or something.
 5 designee?                                                    5 That was really the only conversation. Then I had spoke
 6 A. No.                                                       6 to him the other day and just asked him for the lawyer's
 7 Q. To your knowledge, has the Perkins School hired           7 information so we could coordinate this.
 8 an attorney to represent you -- strike that.                 8 Q. So those were the only conversations that you had
 9      Has the Perkins School hired an attorney to             9 with the plaintiff?
10 represent the Perkins School with respect to the            10 A. Yes.
11 subpoena?                                                   11 Q. Have you spoken at all with the plaintiff's
12 A. No.                                                      12 attorneys?
13 Q. What did you do to prepare for today's                   13 A. No.
14 deposition?                                                 14 Q. Did you speak with -- strike that.
15 A. Read the deposition.                                     15      You mentioned a conversation you had with Michael
16 Q. When you say that, do you mean the subpoena?             16 Ames; correct?
17 A. Yeah. Sorry.                                             17 A. It wasn't a conversation. It was an email.
18 Q. Did you do anything else to prepare?                     18 Q. I think you said that he was directing you to
19 A. No.                                                      19 follow-up with Mr. Mantha?
20 Q. Did you review any documents?                            20 A. Yes.
21 A. No.                                                      21 Q. Did you have any other conversations with
22 Q. Did you speak with anyone?                               22 Mr. Ames?
23 A. No.                                                      23 A. No. No.
24 Q. Did you speak to the plaintiff, Joseph Mantha?           24 Q. Did you have conversations with anyone else at

                                                                                                      6 (Pages 18 - 21)
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                                                     Page 22                                                         Page 24
 1 the school?                                                  1 A. Yes.
 2 A. I did not.                                                2 Q. Then there is seven requests that follow?
 3 Q. Fair to say you didn't speak to any of the                3 A. Correct.
 4 program directors; is that correct?                          4 Q. Do you recall seeing this before?
 5 A. Correct.                                                  5 A. No.
 6 Q. You didn't speak to any of the residential                6 Q. And did anyone speak to you about responding to
 7 counselors or shift supervisors?                             7 these document requests?
 8 A. Nope.                                                     8 A. No.
 9 Q. Now, the subpoena that we issued, it commanded            9 Q. Did Mr. Ames ever mention that you need to
10 you to -- or commanded Perkins to designate a witness to    10 respond to these document requests?
11 appear here and testify. Do you understand that?            11 A. No.
12 A. Yes.                                                     12 Q. So it's fair to say if you haven't seen these
13 Q. It also contains document requests, you                  13 requests before you didn't make an attempt to search the
14 understand that as well?                                    14 schools' records to comply; correct?
15 A. I don't recall seeing that part so I did not             15 A. I did not.
16 submit anything.                                            16 Q. Do you know if anyone at the Perkins School
17 Q. So this subpoena you received a copy from                17 searched any records in an effort to comply with these
18 Mr. Ames; is that correct?                                  18 requests?
19 A. I did.                                                   19 A. No.
20 Q. Do you have a copy of that in front of you, the          20 Q. You haven't spoken to anyone about these
21 one that you received from Mr. Ames?                        21 requests?
22 A. I am pulling it up right now.                            22 A. I have not.
23      Yes, I have it.                                        23 Q. I'm going to refer you to the first page of
24 Q. Okay.                                                    24 Exhibit 1. About halfway down there is a box that is
                                                     Page 23                                                         Page 25
 1 A. I hate to interrupt. I have to get it up -- no,           1 checked that says, "production". Do you see that?
 2 sorry, I have to plug my computer in. All set. Thank         2 A. I do.
 3 you.                                                         3 Q. It says you or your representatives must also
 4 Q. So you have a copy of the subpoena that you               4 bring with you to the deposition, the following
 5 received from Mr. Ames in front you; right?                  5 documents electronically stored information or objects.
 6 A. I do.                                                     6      Do you see that?
 7 Q. Do you see a Schedule A attached?                         7 A. I do.
 8 A. I do.                                                     8 Q. That refers to an attached Schedule A. Do you
 9 Q. If we go to Section 4. You know what, let's mark          9 recall seeing this portion of the subpoena?
10 Exhibit 1 at this point.                                    10 A. Honestly, just briefly. And it is extremely
11         (Document marked Exhibit No. 1 for                  11 unclear as to what is being requested. Nothing would
12 identification.)                                            12 have been submitted based on what I read here now. It
13         MS. KINGSTON: Mr. Padon, I sent you a copy.         13 is not asking for anything specific.
14 You should have received a copy of it. But I'm going to     14 Q. You see where it says see attached Schedule A?
15 mark as Exhibit 1 the subpoena that we sent to the          15 A. I do.
16 Perkins School. You can either refer to that or             16 Q. We looked at those requests earlier; correct?
17 assuming that the copy that you have is the same so you     17 A. Repeat that.
18 can refer to your copy.                                     18 Q. We looked at those requests within Schedule A
19         MR. BRODERICK: Okay.                                19 just a minute ago, didn't we?
20 BY MS. KINGSTON:                                            20 A. Correct.
21 Q. I'm looking at Schedule A to Exhibit 1, subsection       21 Q. You understand the subpoena to be referring to
22 4. Let me know when you see that?                           22 these requests; correct?
23 A. Yes.                                                     23 A. I do.
24 Q. Okay. You see that it says document request?             24         MS. KINGSTON: Let's go off the record for a

                                                                                                      7 (Pages 22 - 25)
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                                                                      Page 26                                                        Page 28
 1 1 second.
 2          11:43 2           THE VIDEOGRAPHER: The time is                      1 testifying in your individual capacity, you are
   . We
 3                                                                               2 testifying on behalf of the Perkins School?
 3 3 are going off the record.
 4                                                                               3 A. Yes.
    4         (Break in the proceedings.)
 5                                                                               4 Q. You understand that your answers today are on
    5         THE VIDEOGRAPHER: We are back on the
 6                                                                               5 behalf of the Perkins School?
            11:45 6 record. Time is .
 7                                                                               6 A. I do.
    7 BY MS. KINGSTON
 8                                                                               7 Q. I think you mentioned earlier that you reviewed a
    8   Q. Mr. Padon, we just discussed a bit off the record
 9                                                                               8 copy of the subpoena; is that correct?
    9 that Perkins has not searched for documents responsive
10
                                                                                 9 A. Yes.
   10 to the request in our subpoena. We will discuss some of
11
                                                                                10 Q. If you refer back to that, which I have marked as
   11 those today. We are reserving the right to seek
12
                                                                                11 Exhibit 1. I want you to look at Schedule A and
   12 compliance with those requests. Okay?                                     12 Subsection 2, which is entitled topics.
13
   13   A. Correct.                                                             13      Let me know when you are there.
14
   14   Q. Can you give me just a high-level brief overview                     14 A. I'm there.
15
   15 of your educational background?                                           15 Q. So topic number one is Joseph Mantha's employment
16
   16   A. I have a bachelor's degree and a certification in                    16 with Doctor Franklin Perkins School in 2019.
17
   17 human resources management.                                               17      Do you see that?
18
   18   Q. Where did you get your bachelor's?                                   18 A. I do.
19
   19   A. Johnson & Wales University.                                          19 Q. Are you the person most knowledgeable at the
20
   20   Q. Can you give me a very brief high-level overview                     20 Perkins School about this topic?
21
   21 of your employment prior to Perkins School?                               21 A. Yes.
22
   22   A. I have been in human resources for 20 years. I                       22 Q. There is no one else who would have superior
23
   23 worked for the TJX companies. The May Institute. Four                     23 information about this topic?
24
   24 healthcare organizations. Then Perkins.                                   24 A. It says Joseph Mantha, complainant, with Doctor
                                                                      Page 27                                                        Page 29
 1 Q. I think you said that you have been at Perkins                             1 Franklin Perkins School.
 2 for four years?                                                               2      Yes, there's a lot of people who has knowledge of
 3 A. Yes.                                                                       3 that. Anybody that works here. Anybody that Joe has
 4 Q. Has it also been in the capacity as vice                                   4 contact with. So, yes, other people, it depends on what
 5 president of human resources?                                                 5 you are asking related to the employment but just the
 6 A. It was director of human resources from 10-11-16                           6 employment itself. Yes, there are other people that
 7 to 7-1 of '18. Then I became vice president, which                            7 know that.
 8 really was just a title change.                                               8 Q. I'm asking if you are the person most
 9 Q. Do you know why you are being deposed here today?                          9 knowledgeable?
10 A. No.                                                                       10 A. I can't answer that.
11 Q. What do you know about the lawsuit that Joseph                            11 Q. Moving on to topic number 2.
12 Mantha filed?                                                                12      "Joseph Mantha's use of his cell phone in
13 A. Honestly, I don't know anything. That was --                              13 connection with his employment with the Perkins School
14 probably not an appropriate time. That was one of the                        14 in 2019."
15 reasons some of the context in the documents that were                       15      Do you see that?
16 requested didn't really make sense to me.                                    16 A. I do.
17 Q. I think you said you've only had two                                      17 Q. Are you the person most knowledgeable at Perkins
18 conversations with Mr. Mantha about this lawsuit?                            18 School for this topic?
19 A. Yes. I guess if you include when I called him to                          19 A. Nope.
20 ask him for lawyer's information.                                            20 Q. Who would that be?
21 Q. Do you understand that this is what we call a                             21 A. Nobody at Perkins.
22 Rule 30(b)(6) deposition?                                                    22 Q. Why is that?
23 A. No.                                                                       23 A. Because it's Joe's cell phone and his personal
24 Q. Okay. Do you understand that you are not                                  24 cell phone number. We have no control as an

                                                                                                                      8 (Pages 26 - 29)
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                                                    Page 30                                                        Page 32
 1 organization over our employees' cell phones.               1 computers?
 2 Q. Topic number 3: "Doctor Franklin Perkins School          2 A. Yes.
 3 policy for reimbursing employees use of cell phones in      3 Q. If a fellow employee wanted to contact another
 4 connection with employment and any reimbursement for        4 employee they would look at the Ring Central app;
 5 Joseph Mantha specifically."                                5 correct?
 6     Do you see that?                                        6 A. Yes. Correct.
 7 A. I do.                                                    7          MS. KINGSTON: I'm going to ask you to try
 8 Q. Are you the person most knowledge for this topic?        8 to provide us a copy of that. If there is a way to
 9 A. It would be myself and Lisa Harrington, who is           9 print it or send it electronically.
10 the CFO; yes.                                              10          THE WITNESS: It would be staff's name and
11 Q. Turning to number 4, Doctor Franklin Perkins            11 then telephone phone number recorded in the Ring Central.
12 School issuance of cell phones to employees for            12          MS. KINGSTON: That's fine. I'm just
13 employment purposes.                                       13 looking for what you have for directories?
14     Do you see that?                                       14          THE WITNESS: Okay.
15 A. I do.                                                   15 BY MS. KINGSTON:
16 Q. Are you the person most knowledgeable for this?         16 Q. Besides the Ring Central app, are there any other
17 A. I would say no because we don't issue cell phones       17 directories that the school keeps or maintains?
18 to employees.                                              18 A. No.
19 Q. All right. I want you to turn to section 4 of           19 Q. Nothing on the website?
20 Schedule A, which are the document requests.               20 A. No. Nope.
21 A. Number 4, did you say?                                  21 Q. What about is there anything handed out to the
22 Q. The document requests.                                  22 students or their families?
23 A. A through G?                                            23 A. I don't know the answer to that. There may be
24 Q. No. I meant Schedule A to the subpoena and I'm          24 within their enrollment packets. There may be phone
                                                    Page 31                                                        Page 33
 1 on Section 4 entitled "Document requests"?                  1 numbers for people, main numbers. It would be nobody's
 2 A. Yes. I'm there.                                          2 individual numbers because we don't do that. There
 3 Q. Okay. So we've discussed that, you know, Perkins         3 would be the Perkins main number for the school or
 4 hasn't searched for any of these documents. But I'm         4 something like that.
 5 going to try to get a sense of what you might have.         5 Q. Who would be in charge of handing that out?
 6 A. Okay.                                                    6 A. I believe it would be whoever oversees each
 7 Q. Request number 1, "Staff or employee directories         7 division.
 8 that would include Joseph Mantha's name."                   8 Q. So for the residential division, would that be
 9      Do you have any documents that would be                9 Mr. Mantha himself?
10 responsive to this?                                        10 A. Yes.
11 A. No. The only -- I don't have it the way that it         11 Q. Moving to request number 2, "Any and all
12 is worded here. Our directory is electronic, so I'm not    12 documents stored internally that reflect Mr. Mantha's
13 even sure there is a way to print it out.                  13 contact information including telephone numbers."
14      Telephone numbers. The only thing we would have       14     Are you aware of any documents responsive to this
15 within our HRIS system we would have people's phone        15 request?
16 numbers. But it would be to contact them personally.       16 A. Yes.
17 And it could be their home number or a cell phone          17 Q. What documents are those?
18 number. It could be based on whatever the employee gave    18 A. It would -- it is not really a document. It is
19 to us. I couldn't say it was cell phone numbers if I       19 within our HRIS system. We would obviously have his
20 provided a list.                                           20 contact information, which would consist of his phone
21 Q. You said it's an electronic directory. Is that          21 number or mobile number and email address.
22 the Ring Central application?                              22 Q. You said that was HR?
23 A. Yes. Yes.                                               23 A. HRIS.
24 Q. Do employees use that on their phones and               24 Q. HRIS system.

                                                                                                    9 (Pages 30 - 33)
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                                                     Page 34                                                         Page 36
 1      Is there a way for you print that out for               1 the functions of their job.
 2 Mr. Mantha and it provide to us?                             2 Q. With the Ring Central app, my understanding is
 3 A. Yes.                                                      3 you are using your work phone number but you are
 4 Q. I would ask that do you that as well.                     4 physically dialing or taking calls with your cell phone.
 5      Besides that, can you think of any other                5 Is that accurate?
 6 documents that you have that are responsive to number 2?     6 A. Accurate, yes.
 7 A. No. Just Ring Central. Again, I don't know if             7 Q. I see. Okay.
 8 people know how Ring Central works. We don't publish         8      And so that -- but that would show up as calling
 9 anybody's personal cell phone number. That's why we          9 from or to the actual work number; correct?
10 have Ring Central because it's a safety net to make sure    10 A. Yes.
11 so if you would call me, you would call my work cell        11 Q. For privacy purposes?
12 phone and that would ring on my personal cell phone.        12 A. Yes. Absolutely.
13      If I called you -- I could call you from this          13 Q. And do employees use the Ring Central app during
14 phone, which is my personal cell phone, that has the        14 the day or is it just after hours or weekends?
15 Ring Central app on there. So when I call you, it would     15 A. It could be at any time, really, based on their
16 say Perkins was calling you. It wouldn't say my             16 role.
17 personal phone number or anything like that.                17 Q. Are the employees required to use this app?
18      I tell you that just so you understand why we          18 A. No.
19 don't need to track people's personal cell phone numbers    19      Can I rephrase that? Only if -- they are only
20 because we have the Ring Central app and that is sort of    20 required to use it if they are getting cell phone
21 the numbers that we use.                                    21 reimbursement.
22 Q. Is the purpose of Ring Central to basically be           22 Q. So if you are getting a cell phone reimbursement
23 able to contact employees wherever they are, at any         23 from the Perkins School, you are required to use the
24 time, for any reason?                                       24 app?
                                                     Page 35                                                         Page 37
 1 A. It is. Is it for that but also to protect and             1 A. Correct.
 2 respect people's personal information.                       2 Q. Is there a reason for that?
 3 Q. So if someone were to make a call from the Ring           3 A. To protect people's personal information.
 4 Central app, would that come from their cell phone?          4 Q. Is that because if you are getting cell phone
 5 A. Yes. It would call from the cell phone, it                5 reimbursement then you are necessarily using your cell
 6 wouldn't say -- it wouldn't say the personal                 6 phone for work?
 7 information. It would say whatever was in the directory      7 A. No. Not necessarily. It depends, to be honest.
 8 on the Ring Central directory.                               8 It depends.
 9 Q. I guess what I'm asking is, the app is only for           9 Q. What does it depend on?
10 use on your cell phone; right?                              10 A. The role.
11         MR. BRODERICK: Objection.                           11 Q. What do you mean?
12 A. Yes. But they have other apps. They have an app          12 A. So it depends on the person's role. So if I was
13 for the computer that can do that as well.                  13 a residential counselor, then those folks wouldn't get
14 Q. You wouldn't use the Ring Central app with your          14 Ring Central or cell phone reimbursement because it is
15 work phone?                                                 15 not appropriate for their position and they don't need
16 A. Well, the work phone is Ring Central, yes.               16 it.
17 Q. So my understanding -- let's strike that. Each           17      If it's generally a director or above, you know,
18 employee will have a Perkins related work number; is        18 we basically have a process where we vet it through to
19 that accurate?                                              19 make sure that it is appropriate that they have it. And
20 A. Yes.                                                     20 then we would give them cell phone reimbursement. And
21 Q. Okay. Does each employee have a physical work            21 they would have the Ring Central app as well.
22 phone?                                                      22      You know, for some people it is completely up to
23 A. No, not necessarily. It depends. It is based on          23 them. For, me, for example, I can use my desk phone. I
24 the person's role and what they would need to perform       24 can use my computer. It depends within your level

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                                                       Page 38                                                         Page 40
 1 within the organization or, I should probably say, your        1 cards. Did Perkins have that in their possession?
 2 role within the organization.                                  2 A. Yes.
 3 Q. But is it accurate to say that -- we can -- we              3          MS. KINGSTON: If you could provide a copy
 4 will get into the reimburse policy a little more. If           4 of that and specifically looking for the business cards
 5 you are getting reimbursed, you are using your cell            5 in 2019.
 6 phone for work in some respect; is that accurate?              6 Q. Okay. Moving on to number 5. Emergency contact
 7 A. Yes. Yes.                                                   7 list. Does Perkins maintain those?
 8 Q. Is the cell phone reimbursement made on an                  8 A. We do, yes.
 9 employee to employee basis?                                    9 Q. And it's safe to say, you would have had one in
10 A. Yes.                                                       10 2019; is that correct?
11 Q. How involved is the vetting for that?                      11 A. Yes.
12          MR. BRODERICK: Objection.                            12 Q. Could you provide us with a copy of those?
13 A. It really -- it would be myself and the CFO. We            13 A. Yes.
14 pull others in as we need if we didn't know. If we had        14 Q. All right. Moving on to number 6, is any
15 a new director and the old director that we replaced had      15 documents that list, reference or identify, Mr. Mantha's
16 it, then that would be an easy one that we probably           16 cell phone number.
17 wouldn't discuss too much.                                    17       To break this down a little bit, we talked about
18       If we had a new role or a role that didn't have         18 phone directories, which you said are on the Ring
19 one, I may reach out to the other vice president of that      19 Central app; correct?
20 area to say, Is this appropriate? What does this job          20 A. Yes.
21 look like?                                                    21 Q. We spoke about emergency contact lists which you
22 Q. Did Perkins have the Ring Central app in 2019?             22 are going to provide and we spoke about business cards
23 A. Oh, no. I don't know. I would have to get the              23 which you are going to provide?
24 dates for sure. I want to say I think we did but I            24 A. Correct.
                                                       Page 39                                                          Page 41
 1 can't be sure -- I can't be sure when we got it.        1  1   Q.  Are  you aware of any other documents  that Perkins
                                                           2 2 -- strike that.
 2 Q. We will have to have confirmation on that. And 3 3             You also mentioned documents stored in Perkins
 3 like we spoke about, the directories from that.         4 4 HRIS system; is that correct?
 4      Okay. Moving on to Request No. 3, it is any and 5 5 A. Yes.
                                                           6 6 Q. Which you are going to provide.
 5 all documents provided to students, residents that      7 7       Besides the documents that I just mentioned, are
 6 reflect, identify or include Joseph Mantha's contact    8 8 there any other documents that Perkins would have that
 7 information.                                            9 9 would reference Mr. Mantha's contact information?
                                                          10 10   A. Not that I'm aware of.
 8      I think you said earlier that what is provided to 11 11 Q. So that is equally applicable to request number
 9 students is done on a division by division basis. Is   12 12 7. We are just looking for anything that has his
10 that accurate?                                         13 13 contact information?
                                                          14 14   A. Okay.
11 A. Yes.                                                15 15         MS. KINGSTON: If we could go off the record
12 Q. As you sit here today, my understanding is you 16 16 for a moment.
13 don't know what is provided to students?               17          12:07 17           THE VIDEOGRAPHER: The time is
                                                             . We
14 A. Correct.                                            18
15 Q. I think you said for the residential division       18 18 are going off the record.
16 Mr. Mantha would know that. Is that accurate?          19
                                                             19         (Discussion off the record.)
17 A. Yes.                                                20
18 Q. For request number 3, you are not aware of any         20         THE VIDEOGRAPHER: We are back on the
19 documents that you have responsive to this; is that    21
                                                                      12:08 21 record. The time is .
20 accurate?                                              22
21 A. Correct.                                               22 BY MS. KINGSTON
22          MR. BRODERICK: Objection.                     23
                                                             23   Q. Mr. Padon, Perkins School is it a privately run
23 BY MS. KINGSTON:                                       24
24 Q. Request number 4. Joseph Mantha's business             24 school?

                                                                                                       11 (Pages 38 - 41)
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                                                 Page 42                                                         Page 44
 1 A. Yes.                                                  1 for the entire residential division?
 2 Q. Do you know if it receives any government             2 A. Yes.
 3 funding?                                                 3 Q. They might not report to him directly, but they
 4 A. We do.                                                4 are still under him; is that accurate?
 5 Q. Do you know what the nature of that funding is?       5 A. Yes, they are within his scope.
 6 A. I don't.                                              6 Q. So we have spoken about Mr. Mantha's job title.
 7 Q. How many employees total?                             7 I think you said director of residential operations?
 8 A. 351.                                                  8 A. Director of residential services. We do use -- I
 9 Q. We spoke about the divisions earlier. Is it           9 have heard a few people say director of residential
10 possible for you to give me a breakdown by division?    10 operations as well. I'm not sure where that comes from.
11 A. Of how many?                                         11 The official title on record is director of residential
12 Q. Yeah. How many employees approximately in each       12 services.
13 division?                                               13 Q. Have you prepared any documents to refer to for
14 A. No.                                                  14 today's deposition?
15 Q. How about residential?                               15 A. No.
16 A. I could guess that is around a hundred.              16 Q. You haven't made any notes?
17 Q. A hundred. Are those are all residential             17 A. Am I making notes?
18 counselors and shift supervisors?                       18 Q. No. Did you make any before the deposition?
19 A. No. They would been residential counselors,          19 A. No.
20 shift supervisors, nursing, clinicians, admin           20 Q. And how would you describe Mr. Mantha's job
21 assistants. I think it is around 110 consistent,        21 duties?
22 everyone that would be within that division.            22 A. I don't understand the question.
23 Q. That kind of includes everyone who has needed to     23 Q. What does he do day-to-day?
24 keep the residential portion up and running. Not        24 A. He, you know, honestly I don't know. He oversees
                                                 Page 43                                                         Page 45
 1 necessarily just someone who is supervising the kids?    1 the residential services so I'm not sure specifically
 2 A. Correct. The majority of it, however, would be        2 what he does.
 3 residential counselors and residential supervisors,      3 Q. Does that involve ensuring that the six group
 4 obviously.                                               4 homes are running smoothly?
 5 Q. How many of those approximately do you employ?        5 A. Yes, yes.
 6 A. I would say like a hundred.                           6 Q. Is he just overseeing the group homes or
 7 Q. 100 of the 110 approximately are the residential      7 overseeing the treatment and education of the students
 8 counselors?                                              8 as well?
 9 A. Correct.                                              9 A. He oversees just the group homes. That is the
10 Q. Do all of 100 of those employee report to            10 scope of what is he supervises. He would be involved
11 Mr. Mantha?                                             11 in, I mentioned, the clinicians. If the clinicians were
12 A. No.                                                  12 meeting, he would be involved in that. He may be on
13 Q. How many of those employees report to Mr. Mantha?    13 committees. I don't know which ones.
14 A. Around six. Those would be the individuals names     14       Yeah, I would say 98 percent of what he is doing
15 that I gave you earlier.                                15 is all related to, you know, what happens in the
16 Q. The program directors?                               16 residential services division with families, with
17 A. Yes.                                                 17 parents, with the staff and hiring and sort of -- it is
18 Q. So in turn, the residential counselors and the       18 a lot of different things.
19 shift supervisor, do they report to the program         19 Q. When you said clinicians, are those teachers?
20 directors?                                              20 A. No. Clinicians. That will be a licensed social
21 A. They do.                                             21 worker.
22 Q. It is kind of a chain of command?                    22 Q. Did Mr. Mantha hold that position in 2019?
23 A. Correct.                                             23 A. Yes.
24 Q. At the end of the day is Mr. Mantha responsible      24 Q. Do you know how long he has been an employee?

                                                                                                 12 (Pages 42 - 45)
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                                                    Page 46                                                        Page 48
 1 A. He has been an employee since June 4th of 2005.          1 click on that. The days of seeing numbers, you don't
 2 Q. Do you know what was -- strike that.                     2 really see that anymore. I know behind it it would have
 3      Did he hold any other titles besides the one he        3 his extension.
 4 currently holds?                                            4      Oh, wait. I do remember it. 978-368-4900.
 5 A. He did. I don't know what the history is. I              5 Q. Do you have an idea of how much during a normal
 6 know the title was before his current role. He was the      6 day, pre-COVID, that he would spend in his physical
 7 program director and then moved into the director of        7 office versus somewhere out in the campus?
 8 residential services. I could get all of that -- all        8 A. Honestly, I don't. Human recourses is offsite.
 9 the exact dates I do have. My guess would be it would       9 We are like a mile and a half down the road. We are not
10 be about three years ago.                                  10 physically on campus. I don't tend to see that coming
11 Q. Going to back the students, the students who are        11 and going in traffic.
12 living in the -- do you use the term home -- I can't       12 Q. There is a portion of Perkins that is not on the
13 remember the exact term.                                   13 campus but is down the road I think you said?
14 A. Group home, yeah.                                       14 A. Yes.
15 Q. Are these students that have special education          15 Q. Is that just HR?
16 needs?                                                     16 A. It is HR, finance and facilities.
17 A. Yes.                                                    17 Q. Does facilities involve residential or is that on
18 Q. In general, what type of special education needs?       18 the campus?
19 A. They're generally behavioral needs or social and        19 A. I would say no.
20 emotional well-being needs.                                20 Q. It does not involve residential?
21 Q. And are these students coming from Massachusetts        21 A. No.
22 or are they coming from all over the country?              22 Q. Any employee who is within the residential
23 A. Most primarily Massachusetts. There are a few           23 division, they would probably be working on campus, is
24 that come from New Hampshire and maybe one that comes      24 that accurate?
                                                    Page 47                                                        Page 49
 1 from Rhode Island.                                          1 A. Absolutely.
 2 Q. I think you testified earlier that they are              2 Q. Would they have reason to visit this offsite
 3 enrolled and living at the school year round minus a few    3 location?
 4 weeks during break; is that accurate?                       4 A. Only if they wanted to talk to somebody from HR.
 5 A. Yes.                                                     5 But they generally don't. They usually call or email.
 6 Q. Fair to say there probably is a lot of contact           6 Q. What does facilities entail?
 7 with their parents and family; is that correct?             7 A. That would be grounds and, you know, maintaining
 8 A. I would say so, yes.                                     8 the grounds, fixing buildings. Those types of things.
 9 Q. Do you know who is usually making contact with           9 So they are sort of dispersed all over campus. Sort of
10 their parents and families?                                10 coming and going. But the building, which we call south
11 A. I didn't hear that.                                     11 campus, which is a mile and a half down the rode, that
12 Q. I will phrase it better.                                12 is sort of where their stuff is, for lack of a better
13      Whose responsibility would it be in the               13 word, sort of their home base, if you'd call it. They
14 residential divisions to contact the parents and family    14 meet there in the morning and then they disperse
15 where appropriate and needed?                              15 throughout the day.
16 A. I'm not sure.                                           16 Q. Are there multiple -- you mentioned south campus.
17 Q. Does Mr. Mantha have a physical office at               17 Is that what you said?
18 Perkins?                                                   18 A. Yes.
19 A. Yes.                                                    19 Q. Are there other portions of the campus?
20 Q. Does he have a physical work phone?                     20 A. No. It is just finance, HR, and facilities.
21 A. I think so.                                             21 Q. Is that what you referred to as south campus?
22 Q. Do you know the number of his work phone offhand?       22 A. Yes.
23 A. Not off the top of my head. That essentially is         23 Q. What is the main campus called?
24 really name driven. I would pull up Joseph Mantha and      24 A. Main campus.

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 1 Q. Those are the only two physical locations for             1 I would have to say no.
 2 Perkins?                                                     2 Q. Okay. Does Mr. Mantha have a set workday?
 3 A. No. There is one more. Adult and elder                    3 A. Generally.
 4 services, that division, they are in Clinton.                4 Q. Generally, again, we are talking pre-COVID 2019,
 5 Q. Okay. On the main campus, are there any security          5 I understand COVID is totally different. But at that
 6 guards?                                                      6 period what would that have been?
 7 A. No.                                                       7 A. It would have been sometime during the day. I
 8 Q. Is there any type of security personnel that is           8 know that is vague. Joe's position is salaried. We
 9 employed with respect to the group homes?                    9 don't track the time of salary folks. We just expect
10 A. Nope.                                                    10 them to get their job. Primarily days. However,
11 Q. Do you know if there has ever been instances of          11 depending on emergencies on what is going on you could
12 violence that have occurred in the group homes?             12 get calls in the evening or weekends. Or he may come in
13 A. Yes. Yes. I don't know that there would be               13 on weekends or evenings. Honestly, I don't know how
14 violence. A better word is the population that we serve     14 much he does that.
15 those individuals, you know, certainly have behavioral      15 Q. Does the school have a written policy about using
16 outbursts. That is what we are doing is working with        16 a cell phone during the workday?
17 them to minimize those behaviors. To be clear, it           17 A. Yes.
18 wasn't necessarily violence but behavioral issues.          18         MS. KINGSTON: We would request a copy of
19 Q. Perkins would be relying on the residential staff        19 that as well.
20 to kind of, for lack of a better word, handle those         20         THE WITNESS: Okay.
21 situations. Is that accurate?                               21 BY MS. KINGSTON:
22 A. Correct.                                                 22 Q. What I take from what you are saying is the
23 Q. This was implicit from your testimony earlier            23 thought is that use of a cell phone for personal reasons
24 but, to be clear, employees are permitted to use their      24 during the day could be distracting from a person's job
                                                     Page 51                                                        Page 53
 1 cell phones in connection with their work; correct?          1 duties; is that right?
 2 A. Yes. As long as it is for business-related                2 A. Correct.
 3 reasons, yes.                                                3 Q. Which makes sense particularly when you are
 4 Q. When you say business related-reasons, what do            4 working with kids, right? You want to be paying
 5 you mean?                                                    5 attention?
 6 A. Something has, you know, something that is within         6 A. Correct.
 7 the scope of their employment. What we don't want to         7 Q. And do you have any knowledge about Mr. Mantha's
 8 happen is for them calling relatives or outside callers      8 specific use of his cell phone during the day for work-
 9 or that kind of stuff just because it is disruptive to       9 related purposes?
10 the clients that we serve. Even internally we try to        10 A. No.
11 keep that just for emergencies or have to's.                11 Q. Was the school you mentioned he was a salaried
12 Q. You are talking about -- if I'm understanding you        12 employee; correct?
13 correctly, you are talking about using your cell phone      13 A. Correct.
14 during the workday?                                         14 Q. Does he need to log overtime work that he does?
15 A. Correct.                                                 15 A. No.
16 Q. Is there a set workday for all employees?                16 Q. So, in other words, he doesn't get paid extra for
17 A. No.                                                      17 working into the evenings or on the weekends; is that
18 Q. Does that vary from employee to employee?                18 right?
19 A. It does.                                                 19 A. Not that I know of. The reason I say, "not that
20 Q. In fact, I think you mentioned like shifts for           20 I know of," we do have what is called come about for
21 residential employees; is that right?                       21 salaried people who would pick up additional shifts that
22 A. Yes. For -- if we are just talking about                 22 are outside their job.
23 residential counselors, even then I was going to say        23      So if somebody was a human resource manager but
24 that there are standard shifts but there is really not.     24 then they raised their hand and said, "I will pick up a

                                                                                                    14 (Pages 50 - 53)
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                                                       Page 54                                                       Page 56
 1 shift as a residential counselor." We would pay them           1 A. Correct.
 2 $25 an hour.                                                   2 Q. Does each employee get a work computer?
 3      I don't think Joe gets that but I would have to           3 A. No.
 4 check it, to be quite honest with you.                         4 Q. About how many employees have work computers?
 5 Q. Okay. And you mentioned earlier that it's                   5 A. Honestly, I don't know.
 6 possible that he could be working on weekends or in the        6 Q. Is that handled through the HR department?
 7 evening because of an emergency; is that accurate?             7 A. Everybody gets access. Access, you know, to log
 8 A. Yes.                                                        8 in. But, you know, depending on their position would
 9 Q. When you say emergency, generally what do you               9 depend whether they actually had a computer or used a
10 mean?                                                         10 shared computer.
11 A. All I would know is there would be an emergency            11 Q. What would they be able to access when they log
12 situation with a student. I don't honestly -- I don't         12 in?
13 tend to get -- that is not my skill set so I don't tend       13 A. It depends on their role.
14 to follow that.                                               14 Q. What type of systems available. I'm trying to
15 Q. Do you know if there is an emergency line that is          15 get a sense -- it sounds like Perkins has kind of
16 maintained in case employees need to contact each other       16 internal system that you can log onto; is that correct?
17 about something like that?                                    17 A. Our network.
18 A. No. I think it would be the main number.                   18 Q. Network. What types of things are on there?
19 Q. You are not aware of any on-call number?                   19 A. That HRIS system that I was talking to. So
20 A. I know we have people who are on call. I don't             20 people would have access to punch in and out. We have a
21 know that there is any on call -- like a specific phone       21 staff resource page. They access their email from that.
22 number.                                                       22 We have a client management system so they would
23 Q. Do you have any knowledge of Mr. Mantha being              23 certainly would access -- that is role driven as well.
24 called in an emergency situation?                             24 Most likely they would access that. That is really it.
                                                       Page 55                                                       Page 57
 1 A. No. Not specifically.                                       1 You know, email the staff resource page. The payroll/HR
 2 Q. You can't recall any specific instances in which            2 system and then the client management system.
 3 you have heard that he has been contacted in an                3 Q. It sounds like employees can access this network
 4 emergency situation?                                           4 remotely; is that correct?
 5 A. Yeah, I wouldn't. I know there is an on-call                5 A. No, not necessarily. Only senior leadership
 6 schedule where I believe Joe is in rotation on that. It        6 staff.
 7 is Joe and I think other program directors that are on a       7 Q. Would that include Mr. Mantha?
 8 rotating schedule to be on call but not anything that I        8 A. Yes.
 9 would be close to have an understanding about.                 9 Q. Did the school have a policy on personal use of
10 Q. Who creates and maintains the on call schedules?           10 work computers?
11 A. I'm not sure. I would say Joe.                             11 A. A policy on personal use of computers? Yes. I
12 Q. Safe to say that would include the person's name           12 don't think it's a specific policy, it is embedded in
13 and contact information; is that accurate?                    13 something else.
14 A. Yes.                                                       14 Q. Do you know generally or do you recall what the
15         MS. KINGSTON: So I will follow up with you            15 policy is?
16 about this but we will be looking for that on call            16 A. The gist of it is, you know, that computers, any
17 schedule for the relevant time periods. It sounds like        17 of the information services on systems that we have at
18 Mr. Mantha would have that?                                   18 Perkins can only be used for business purposes.
19         All right. Does anyone need a break?                  19      Then there would be guidelines about HIPAA and
20         MR. BRODERICK: I'm good.                              20 emails and things like that.
21 BY MS. KINGSTON:                                              21 Q. Is it a blanket prohibition on personal use or is
22 Q. Does each -- I think you said there is 351                 22 there some like minimal allowance?
23 employees total about 110 are in the residential              23 A. I believe you can't use it for personal use.
24 division; correct?                                            24 Q. Does Perkins issue work owned phones to employees?

                                                                                                     15 (Pages 54 - 57)
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                                                     Page 58                                                                Page 60
 1 I think you said no.                                         1 1 Q. Can you tell me generally what that policy is?
                                                                2 2 A. Yeah, it is a one page policy. Is not a very
 2 A. Yeah, we don't. Nope.
                                                                3 3 lengthy. Essentially, it basically says, that it
 3 Q. Do you know why not?                                      4 4 applies to people who have an authorized need for mobile
 4 A. There are lot of factors that went into it.               5 5 device services, that we talked about earlier. And that
                                                                6 6 we will reimburse them $30 a month.
 5      One, which probably isn't appropriate, we don't
                                                                7 7 Q. Is "authorized need" further defined or given any
 6 want to manage that nightmare.                               8 8 substance?
 7      Two, we don't really have any position that they        9 9 A. Yes. It does, yes. There is an approval, a
 8 would use their cell phone all the time. You know,          10 10 section of an approval process.
                                                               11 11          MS. KINGSTON: Okay. I think it makes sense
 9 people are using a mixture of the, you know, desk           12 12 that -- I think it makes sense to take a short break.
10 phones, wall phones. We ideally prefer not to use a         13 13 If you can email me that that will be a lot more
11 cell phone. And so just didn't want to sort of              14 14 efficient if I have that in front of me.
                                                               15 15          Does a 15-minute break work for everybody?
12 encourage that. But we also knew that some people, from
                                                               16 16 When we come back, I will have that in front of me.
13 convenience, they may want to text back and forth about     17 17 Thank you.
14 a client or something like that. Obviously, recognizing     18          12:35 18             THE VIDEOGRAPHER: The time is
15 that, you know, some professionals go offsite for              . We
                                                               19
16 meetings and they need to have contact on occasion.         19 19 are going off the record.
17      It just really wasn't -- you know, we wanted to        20
18 have something but we didn't really want to have people        20          (Break in the proceedings.)
                                                               21
19 sort of using their phone all the time.
                                                                  21          THE VIDEOGRAPHER: We are back on the
20 Q. That is kind of -- let me know if you agree.             22
21 That is kind of the norm for most workplaces?                  22 record. The time is 12:35.
22 A. Correct.                                                 23
                                                                  23          (Document marked as Exhibit No. 2 for
23 Q. It is the rare workplace that is going to give a         24
24 cell phone; right?                                             24 identification.)

                                                     Page 59                                                               Page 61
 1 A. Exactly. Ours, like I said, ideally we'd rather           1 BY MS. KINGSTON:
 2 somebody, you know, not use their cell phone. So we          2 Q. Mr. Padon, I have marked as Exhibit 2 the cell
 3 weren't asking to use it all the time. It wasn't really      3 phone reimbursement policy that you sent me.
 4 a company phone. We didn't want to be in the business        4      Do have you that in front of you?
 5 of managing desk phones, cell phones; all of that. It        5 A. Yes.
 6 doesn't make sense.                                          6 Q. Was that policy effective in 2019?
 7     Hence, why we got Ring Central. That kind of             7 A. Shoot. You had asked that and I meant to -- it
 8 puts it all as best as it can be put into one box to         8 was -- I just don't know the exact date we rolled it
 9 manage it.                                                   9 out. Sorry.
10 Q. And I think you mentioned earlier there is a cell        10 Q. Are you talking about the Ring Central app?
11 phone policy; is that correct?                              11 A. No. The policy is what I don't know. The Ring
12 A. Yes.                                                     12 Central was June 28, 2019.
13 Q. If I haven't asked before, I'm going to ask that         13 Q. June 28th?
14 you that give me a copy of that. Okay?                      14 A. Yes.
15 A. Absolutely. To be clear, it is a cell phone              15 Q. Is that the date when employees would have been
16 reimbursement policy.                                       16 starting to use that system?
17 Q. And do you have that -- do you have that handy on        17 A. Yes. That was the date -- on the 28th the phones
18 your computer right now?                                    18 were really sort of installed throughout that week but
19 A. I do.                                                    19 the official training happened on June 28th.
20          MS. KINGSTON: At the next break, I think           20 Q. Okay. Is it possible employees would have
21 I'm going to ask you to email that to me in case I have     21 started using that before the 28th?
22 any questions. We will keep going until we take a           22 A. I don't know if I can access that. It would say
23 break.                                                      23 possibly, yeah. Yeah. Not that -- not the, you know,
24 BY MS. KINGSTON:                                            24 not the line staff, as we call it, which can be the

                                                                                                         16 (Pages 58 - 61)
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                                                       Page 62                                                         Page 64
 1 direct care staff. But probably someone like myself or         1 Q. Do you remember kind of the thinking behind it at
 2 somebody in an effective leadership capacity may have.         2 the time?
 3 Q. Would that have included Mr. Mantha?                        3 A. Yeah, it was really based on the fact that we
 4 A. Yes.                                                        4 were doing something and didn't have a policy for it. I
 5          MR. BRODERICK: Objection.                             5 wanted to make sure it was fair and consistent and there
 6 BY MS. KINGSTON                                                6 was something in place. It was a new policy but it
 7 Q. Would you count him as part of the executive                7 wasn't a new practice. It was putting what we were
 8 staff?                                                         8 doing into writing and formalizing it.
 9 A. No. Joe would fall under executive leadership and           9 Q. At that time, you were already reimbursing
10 senior leadership. So Joe would fall in senior                10 employees for cell phone use?
11 leadership.                                                   11 A. We were.
12 Q. Turning back to the cell phone reimbursement               12 Q. Do you know how long that practice dates back to?
13 policy, I think you said this was in effect in 2019, but      13 A. At least five years.
14 you are not positive?                                         14 Q. Okay. All right. I want to look at some of the
15 A. I was trying to look it up now when I sent out             15 language in it. Again, this is Exhibit 2. I'm looking
16 the last policy. I'd have to get it for you.                  16 at the first paragraph under policy?
17      I'm embarrassed. It should be on the bottom of           17 A. Um-hmm.
18 this document. Normally my policies do have that on           18 Q. It refers to authorized need. Do you see that?
19 there. This one I guess I did not do that.                    19 A. Yes.
20 Q. Do you know if there were any changes to the               20 Q. Since you drafted this, you are best person to
21 policy reasonably?                                            21 ask. What does authorized need mean?
22 A. No. Nope.                                                  22 A. It really ties to what is included in the
23 Q. So I mean is it fair to say that the substance of          23 approval process. It still is a little bit vague and we
24 this policy would have been the same as in 2019?              24 had to put it that way because everybody's role is
                                                       Page 63                                                         Page 65
 1 A. Absolutely. Absolutely.                                     1 different. And the reasons why they would need it would
 2 Q. At some point we can take a short break and you             2 be different. But basically the supervisor writes a
 3 can confirm that for us.                                       3 justification and that's what myself and Lisa, who is
 4      We assume that this would have been the same              4 the CFO, would determine it was appropriate based on
 5 substance in 2019?                                             5 what they wrote that would determine whether it was
 6 A. Correct.                                                    6 appropriate of them to have the phone or not.
 7 Q. So referring you to that, did you write this                7 Q. Okay. It goes from a request -- is there a
 8 policy?                                                        8 written request for the supervisor?
 9 A. I did.                                                      9 A. Yes.
10 Q. Do you know when you first drafted it?                     10 Q. Is it required to be in writing like you wouldn't
11 A. That's what I can't figure out. That's the date            11 consider -- you wouldn't consider an oral request?
12 I'm trying to get.                                            12 A. We have, unfortunately. Yes.
13 Q. Do you know how long Perkins has had a cell phone          13 Q. So there is some type of request from a
14 reimbursement policy?                                         14 supervisor and then that goes up to you and Lisa
15 A. I don't know the exact date. We have done it in            15 Harrington?
16 this manner for quite a while. I want to say at least         16 A. Harrington, yes. She is the CFO.
17 five years if not more.                                       17 Q. Is there anyone else involved in that process?
18 Q. That is that Perkins had any type of                       18 A. No. Only in the capacity that I spoke to earlier
19 reimbursement policy, is that correct, not just this          19 where if I question something or didn't understand
20 one?                                                          20 something, I would immediately reach out to somebody
21 A. Yes.                                                       21 else to get clarification.
22 Q. Were you with Perkins when the decision was made           22 Q. Would it be to the employee who is seeking
23 to create this policy?                                        23 reimbursement?
24 A. Yes.                                                       24 A. It could be the employee. It could be the

                                                                                                       17 (Pages 62 - 65)
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                                                       Page 66                                                         Page 68
 1 supervisor. I could be the VP. It really just sort of          1 and lots buildings.
 2 depends.                                                       2      Did I state that accurately?
 3      To be honest, although we wrote that in the               3 A. Yes.
 4 policy, the people that we are issuing it to are               4 Q. Does that mean that he was just on the move a
 5 replacements. So for, for a replacement, if I knew that        5 lot?
 6 a previous director had a cell phone, there is no reason       6 A. Yes. Yes.
 7 to really go through that. We know the role is the             7 Q. In fact, I think you mentioned six group homes?
 8 same. That's generally what happens. We don't have a           8 A. Yes.
 9 lot of new positions or new job titles go through that         9 Q. You also mentioned people being on call. Do you
10 process. I don't think we've actually done it since           10 know if that applies to Mr. Mantha?
11 this has been in writing.                                     11 A. I think so.
12 Q. Okay. This is a fairly infrequent process; fair            12 Q. Do you know of any specific instances in which he
13 to say?                                                       13 was on call?
14 A. Yes.                                                       14         MR. BRODERICK: Objection.
15 Q. And do you recall when Mr. Mantha became a                 15 A. I don't. That's why I don't know. I'm not
16 director of residential services? Do you recall?              16 involved in that call rotation so.
17 A. The date?                                                  17 Q. And you mentioned the scope and lots of
18 Q. Yes.                                                       18 employees. Are you referring to the 110 or so that are
19 A. I can get it for you if I have 45 seconds.                 19 in the residential division?
20      September 13th of 2017.                                  20 A. I am, yes.
21 Q. Okay. And was he replacing someone?                        21 Q. Is that because it's possible that any one of
22 A. Yes.                                                       22 them could be contacting Mr. Mantha as director?
23 Q. Who was that?                                              23 A. Yes.
24 A. Tyron Scott.                                               24 Q. Do you know who among those employees has his
                                                       Page 67                                                         Page 69
 1 Q. Do you know if Tyron Scott had an entitlement to            1 cell phone number?
 2 cell phone reimbursement at the time?                          2 A. Nobody has his cell phone number.
 3 A. I think did he, yeah. Again, there is no real               3 Q. Let's go back to the time before Ring, first. So
 4 way -- again, I don't know how I would be able to              4 I understand with Ring Central that they could reach his
 5 validate that.                                                 5 cell phone by calling his work number; correct?
 6 Q. So you mentioned that there are various reasons             6 A. Correct.
 7 why an employee might qualify for this. Can you give me        7 Q. That's what you are saying that they wouldn't
 8 some general sense of what those reasons might be?             8 have his cell phone number, per se; right?
 9 A. Somebody that works offsite. Somebody who, you              9 A. Correct.
10 know, Joe, I guess, is a good example, who their scope        10 Q. Let's talk about before Ring. Do you know if
11 for a lot of employees over a lot of different                11 they would have had a cell phone number then?
12 buildings. Definitively if somebody is on call that is        12 A. Only if he gave it to them.
13 an easy one.                                                  13 Q. Do you have any way of knowing who he gave his
14      I think those would be the big ones, the bigger          14 cell phone number to?
15 ones. It tends to most -- it is all people who are            15 A. I wouldn't. I can tell you I feel like that -- I
16 manager and above.                                            16 don't get around the campuses a lot. Just as a
17 Q. It sounds like it's a practical-based policy that          17 practice, we don't really give people cell phone
18 recognizes that certain employees might just need to use      18 numbers. If I saw someone do it, I would step in and
19 their cell phone during work for work purposes. Is that       19 correct that.
20 accurate?                                                     20      That is really something that I'm passionate
21          MR. BRODERICK: Objection.                            21 about that we are not doing that based on the type of
22 A. Absolutely.                                                22 work that we do. Kids can get it, they are pretty
23 Q. You mentioned with Mr. Mantha specifically that            23 creative. They will get it on their own without it
24 you mentioned the scope and others, lots of employees,        24 leaking. It is something that we sort of need to be

                                                                                                       18 (Pages 66 - 69)
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                                                      Page 70                                                         Page 72
 1 very cautious of.                                             1 probably to be Joe.
 2 Q. You are talking about post implementation of this          2      There could be an emergency that the CEO was
 3 Ring Central app; is that right?                              3 alerted to. I would obviously give him Joe's -- he
 4          MR. BRODERICK: Objection.                            4 would have Joe's phone number in Ring Central. So he
 5 A. Correct.                                                   5 would be able to contact Joe, you know, for feedback.
 6 Q. Just to go back to the policy, Exhibit 2. I'm              6 There might be something specific to a student or
 7 looking at the second section that says eligibility.          7 building that Joe would have that knowledge for.
 8 And it says, "An employee who has an authorized need and      8 Q. Can you give me a specific example of what type
 9 where their position requires them to be on/call."            9 of emergency that might be? Is it typically something
10      Do you see that?                                        10 where students -- you know, well-being -- there's a
11 A. Yes.                                                      11 concern for students well-being or something like that?
12 Q. So are all the employees who are on call in some          12 Could you give me some examples.
13 respect eligible for this reimbursement?                     13 A. It is certainly that. If it was something that,
14 A. No. If they are just on call, yes. But there              14 you know, if it was an evening night or weekend and it
15 are some people that get the reimbursement who are not       15 was a supervisor, you know, they didn't -- if it was an
16 on call. Either they are not call or they are                16 emergency, you know, sick call. They couldn't replace a
17 informally on call. Informally would be myself. So I'm       17 sick call, I guess would be an example.
18 not on call, per se. This is Derek Padon's weekend to        18      Certainly what you said, if there -- I guess, I
19 be call. But I also recognize as part of my role if          19 have been involved, if we had a student run away. Joe
20 there was an emergency related to myself, I would be on      20 would be notified right away and possibly, depending on
21 call at any time. It is sort of complicated and what         21 the circumstances, have to come on site and intervene in
22 true on call is and just being on call. We don't have a      22 some way. I guess those are probably the only examples
23 really great definition for that.                            23 that I can think of.
24 Q. I see. I think you mentioned earlier, I'm                 24 Q. You know, I don't know want to know any of the
                                                      Page 71                                                         Page 73
 1 focusing on the residential staff for now. That there         1 personal identifying details but the student who ran
 2 is actually written on call schedules. Is that correct?       2 away, when was that? Do you recall?
 3 A. I believe so, yes. It is really -- it is not               3 A. Two years ago, probably.
 4 something that is managed through HR or from an               4 Q. Sometime in 2018?
 5 organization. Each manager for the division would             5 A. Yes.
 6 figure out what work space if they have do call.              6 Q. It sounds like these are either employee-related
 7 Q. That is kind of what you are referring to as a             7 issues or student -- and/or student-related issues. Is
 8 formal on call, correct?                                      8 that fair to say?
 9 A. Correct.                                                   9 A. Yes.
10 Q. So informal, I think what you called it, on call          10 Q. I'm sure you've probably heard the phrase "the
11 just means it is either -- correct me if I'm wrong -- it     11 buck stop here." Correct?
12 is explicit or implicit in your job duties that you have     12 A. Yes.
13 to be generally available. Is that accurate?                 13 Q. Is it fair to say in terms of the residential
14 A. Correct. That is accurate.                                14 division that the buck stops with Mr. Mantha?
15 Q. I know that all too well.                                 15 A. No, I don't really have that perception. Because
16      Would you say that Mr. Mantha is someone who            16 there is, you know, there's program directors that the
17 qualifies as someone who is informally on call?              17 staff report into and then those folks report into Joe.
18 A. Yes.                                                      18      We also have the COO, who is pretty close to that
19 Q. Tell me a little bit more about that. Who is he           19 program as well. So I have seen people work out from
20 informally on call for?                                      20 him. You know, working in human resources if somebody
21 A. Really for anything that had to do with his               21 disagrees with something that Joe says or implements,
22 division. You know, if we had a major emergency and          22 they certainly have no problem calling or emailing
23 someone could reach out to me, for example. I wouldn't       23 myself.
24 have the specific details so my first call would             24      So I don't feel -- we don't want that perception

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                                                      Page 74                                                          Page 76
 1 anywhere within that organization. So I don't feel that       1 A. Yes.
 2 way.                                                          2 Q. Is this something that is approved on a yearly
 3 Q. Let me put it a different way. I guess what I'm            3 basis or is it more periodic than that?
 4 getting at in terms of someone who is the most                4 A. It is just once they get the cell phone -- in
 5 knowledgeable in a position to make decisions in terms        5 order to get the reimbursement, we have to approve them.
 6 of the residential division, would you describe that as       6 Once it is approved, it would stay on until they are no
 7 Mr. Mantha?                                                   7 longer with us.
 8 A. No. I would say that would be Tim Hammond.                 8 Q. Do you know -- strike that.
 9 Q. Tim?                                                       9     Do you know when he was first approved?
10 A. I think if we are talking about day-to-day                10 A. I don't.
11 decisions, yeah, that would be Joe. But if there are, I      11 Q. Would that be somewhere in Perkins' records or
12 guess, important things or things that would impact the      12 electronic databases?
13 entire organization, then it certainly would be Joe.         13 A. Probably not. That's because we have switched
14 Q. Who is Tim Hammond again?                                 14 HRIS systems. I would only have what is in the new
15 A. He is the chief operating officer.                        15 system from July 1st of 2017.
16 Q. You mentioned a couple of minutes ago that when           16 Q. I believe you said he was put in his new position
17 there was an emergency you actually specifically recall      17 on September 13, 2017; is that correct?
18 calling Mr. Mantha. You recall his COO calling him.          18 A. Yes.
19      Do you recall testifying to that?                       19 Q. If he was approved at that time, it would be in
20 A. Can you say that again?                                   20 the HRIS system?
21 Q. Sure. I think a couple of minutes ago, you                21 A. Yes.
22 mentioned when the student ran away, I think you said        22 Q. In fact, I think I read the policy to mean,
23 you called -- someone called Mr. Mantha; is that             23 whenever you change positions, you have to be reviewed
24 correct?                                                     24 anew. Is that accurate?
                                                      Page 75                                                          Page 77
 1 A. Yes. Someone called Joe.                                   1 A. No.
 2 Q. I think you mentioned that you even called him             2 Q. I'm looking at -- under approval process, the
 3 with respect to some residential issue once; is that          3 second point, "Any employee who transfers to a new
 4 correct?                                                      4 position will need a new mobile device reimbursement
 5 A. No. No. If I said that, I didn't articulate it.            5 justification approved for the new position."
 6 I was giving it as an example as something that I was on      6 A. I do. That hasn't come up, I guess. Unless it
 7 the sideline sort of observing.                               7 has been -- so this, I will admit, we are not following
 8 Q. I see. In these kinds of emergency situations              8 up our policy to the T as we should be. I believe Joe
 9 from your testimony that I'm understanding that               9 had cell phone reimbursement -- he was a program
10 Mr. Mantha is the one that is going to be called             10 director. So he had it when he transferred to the
11 generally; is that accurate?                                 11 residential director. And so there was no -- we knew
12 A. Yes. However -- I hate howevers -- a lot of               12 that his position included it so we didn't go through
13 times if it truly is a major emergency, he is probably       13 that in writing.
14 calling Tim for direction as well.                           14      We should have in order to follow our policy but
15      If it was an HR issue, he had called me to get          15 we didn't.
16 advice and/or supervision on, you know, most of the          16 Q. So I think you mentioned that the person in his
17 stuff that relates to HR, though, would be something         17 position before him was Tyron Scott?
18 that Joe probably wouldn't call me at night or on the        18 A. Yes.
19 weekend. He didn't suspend an employee, for example,         19 Q. You think that he had the reimbursement?
20 and then we would talk about that on Monday.                 20 A. Yes.
21 Q. I want to go back to the policy, which is                 21 Q. I think you just testified what when Mr. Mantha
22 Exhibit 2.                                                   22 became the director that you knew that included the
23      Mr. Mantha currently receives reimbursement for         23 reimbursement; is that correct?
24 his cell phone under this policy; is that correct?           24 A. Correct.

                                                                                                      20 (Pages 74 - 77)
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                                                      Page 78                                                        Page 80
 1 Q. Why is that?                                               1 A. After. Definitely after.
 2 A. Why did I know that he would be eligible for the           2 Q. After September.
 3 reimbursement?                                                3      From your memory and understanding, Mr. Mantha's
 4 Q. Yes.                                                       4 reimbursement would have been pursuant to the ordinary
 5 A. Just because I know what the job entails so it is          5 practice but not necessarily to this policy?
 6 an easy one. Obviously, he needs if they are on call          6 A. Correct.
 7 they sort of need to go around the campus, so, yeah.          7 Q. Is it accurate to say that this policy simply
 8 Q. Do you know the year that Mr. Mantha first                 8 memorializes what this practice was?
 9 received a reimbursement?                                     9 A. Correct.
10 A. I don't. I would have to like do some serious             10 Q. Do you have any specific memory of approving
11 digging to find that out.                                    11 Mr. Mantha in 2017?
12 Q. I'm going to ask you after the deposition to go           12 A. No. Other than what I just told you. When we
13 back into your system and look for documents relating to     13 sort of rolled out the policy, when we reviewed it. I
14 reimbursement for Mr. Mantha.                                14 saw his name on the list, knew it made sense, and,
15 A. Okay.                                                     15 obviously, didn't take him out of the system or made any
16 Q. This is approximately a $30 reimbursement;                16 changes to it.
17 correct?                                                     17 Q. Fair to say it was a no-brainer --
18 A. Yes.                                                      18 A. Yeah.
19 Q. Do you know if Mr. Mantha -- if there was a               19 Q. -- to have approved him for this reimbursement?
20 written request by his supervisor at the time he             20 A. Exactly.
21 received reimbursement?                                      21 Q. There's 351 employees at the school; is that
22 A. I don't. Only because I don't even know when he           22 right?
23 started receiving it.                                        23 A. Yes.
24 Q. Would that be stored in Perkins' electronic               24 Q. How many currently get cell phone reimbursements?
                                                      Page 79                                                        Page 81
 1 records if it existed?                                        1 A. I want to say like 15 to 20; not a lot.
 2 A. My hesitation is we have a new HRIS system as of           2 Q. Can you give me a sense -- you don't have to give
 3 July 2017. When we integrated from the old system to a        3 specific names, but a sense of who these people are,
 4 new system, we didn't bring in a whole lot of history,        4 what their roles are?
 5 we couldn't. That is my hesitation, I would have to           5 A. Yeah. The executive team members that I talked
 6 look.                                                         6 to you about, all of those folks. And then anybody that
 7 Q. What about physical files?                                 7 is a director of one of the divisions that I mentioned
 8 A. Possibly either physical files or something that           8 that we talked about so they certainly have it. Then
 9 is in a payroll document somewhere.                           9 maybe one or two people underneath the divisional heads.
10 Q. If he was approved in September of 2017, that             10 Q. What about the program directors to the
11 would have involved you and Lisa Harrington; correct?        11 residential group?
12 A. Yes.                                                      12 A. Yes, they get that as well.
13 Q. Do you have any memory of that?                           13 Q. What is the reason for that?
14 A. Yes. That was a little bit different. Anybody             14 A. Because -- I'm using your word now -- it's a
15 -- when we rolled this policy out, as I told you, it was     15 no-brainer. They participate in the call. They are
16 already happening. So any folks that were already            16 there as well. Not as much as Joe. They leave their
17 getting it, we didn't go through that approval. We just      17 office, which their office in the residential group
18 sort of -- they were grandfathered. They were getting        18 home. They may go to a meeting, they go to a cafeteria.
19 it.                                                          19 They are going back and forth.
20      Obviously, Lisa and I reviewed a list and said          20      If there are issues with kids at school to sort
21 does this make since? And it did. And we sort of moved       21 of make that transition happen. And probably more
22 forward with those people.                                   22 importantly if there is ever an emergency with a kid or
23 Q. You think this written policy was created after           23 a parent needed a kid, we would need a way to get that
24 September 2017 or before?                                    24 kid so those program directors are the way that we would

                                                                                                     21 (Pages 78 - 81)
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                                                    Page 82                                                         Page 84
 1 get them. That's why they would get it.                     1 Q. If he wanted to send a couple of emails or make a
 2 Q. Not to oversimplify it, these are kind of people         2 couple of phone calls off the clock at home, how would
 3 who really couldn't effectively do their jobs without       3 he do that?
 4 use of a cell phone; is that accurate?                      4 A. He could -- from his phone he could certainly do
 5 A. Yes.                                                     5 that. Or from --- we have the VM wear. I don't know
 6 Q. Are employees able to work from home? We are             6 think Joe has that, though. I'm not sure.
 7 talking pre-COVID.                                          7 Q. What is that?
 8 A. No.                                                      8 A. It is VM wear.
 9 Q. They weren't able to work from home pre-COVID;           9      On days that I work from home I can log into -- I
10 is that what you just --                                   10 would go to my desktop at home, my personal desktop,
11 A. Yes. Our CEO has a very, very strict stance on          11 sort of like Ring Central. I click on an icon on the
12 working from home. It is not something that -- until we    12 desktop and it would bring me to the exact desktop at
13 got COVID. We are very different now. But before that,     13 Perkins. I don't think Joe has that.
14 no, it just wasn't allowed.                                14      Yes, he could send emails or do phone calls at
15 Q. Do you know the rationale for that?                     15 night. I have never -- I never had any contact with him
16 A. I think there was a fear of being able to hold          16 after hours. That is not to say that he doesn't with
17 people accountable at home. The other issue that we had    17 other people.
18 is, you know, if we let some folks work from home, we      18 Q. From what I'm understanding there is still a way
19 have the majority of our positions, teachers and           19 for him to access the network and his emails from home
20 residential counselors, they can't do their jobs from      20 on his cell phone; is that correct?
21 home. They tend to say, "If we can't do that, why can      21 A. I wouldn't say the network. I would say his
22 that group do it?" It is sort of old-fashion thinking      22 emails. Yes, he could certainly access them from his
23 where folks don't realize that some jobs are okay to       23 phone.
24 work from home and some, by nature, just aren't.           24 Q. I think you said 15 to 20 employees currently
                                                    Page 83                                                         Page 85
 1      So it was something that we just didn't want to        1 have approval for the reimbursement?
 2 change that culture within the organization so we left      2 A. Right.
 3 it alone and decided we'd look at it down -- I got          3 Q. When is the last time that you approved someone?
 4 Michael Ames to sort of, you know, kind of let me know      4 A. It was three weeks ago.
 5 that we'd talk about it a later time and see if it was      5 Q. What job title did that person have?
 6 something that we could move towards. COVID-19              6 A. It was a program -- it was somebody that reported
 7 certainly made that happen.                                 7 to Joe. It was a program director.
 8 Q. I can tell you it is a subject you are passionate        8 Q. Was there a written request.
 9 about.                                                      9 A. No. It was an email from Joe. And, you know,
10 A. Very.                                                   10 again, it was a replacement and I knew that she would
11 Q. Law firms are the most old school so.                   11 get it and I processed it.
12      What about -- what if an employee comes home from     12 Q. Do you recall if Mr. Mantha said anything in
13 a workday and sends a couple emails at night. Make a       13 support of the request?
14 couple of phone calls. Is that permissible?                14 A. No. His approach on it was that basically it
15 A. If they are salaried, yes. That does happen on          15 should have already happened. So just made me think
16 occasion. Any employer would tell you this, we do have     16 that we need -- we need some education with folks so
17 hourly folks who probably are going on their email when    17 they know that needs to come from them. It is not just
18 they are not on the clock. We tell them not to as much     18 this automatic thing that happens.
19 as we can.                                                 19 Q. Do you know -- you gave me the names of the
20 Q. Is there a policy about work from home?                 20 program directors so this is someone who started
21 A. Nope. Nope.                                             21 recently. Is that correct?
22 Q. So Mr. Mantha is a salaried employee and he was         22 A. She started probably nine -- anywhere from six to
23 in 2019. Is that right?                                    23 nine months ago. Because we are not following the
24 A. Absolutely.                                             24 process. No one prompted HR to do it. Joe sent the

                                                                                                   22 (Pages 82 - 85)
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                                                     Page 86                                                         Page 88
 1 email and the approach was basically, you know, You          1 Q. When you say that if you get a reimbursement you
 2 didn't do this.                                              2 are required to use the Ring Central app, does that mean
 3 Q. That is Amanda?                                           3 you can't use your physical work phone -- can you
 4 A. No. It was Kelley Gross.                                  4 clarify that for me?
 5 Q. So there are six program directors and they all           5 A. Yes. So if you are using your cell phone, then
 6 have cell phone reimbursements?                              6 you should be using the Ring Central.
 7 A. Yes.                                                      7      But it doesn't mean you can only use your cell
 8 Q. Obviously, Mr. Mantha does. Did Mr. Mantha have           8 phone to make calls. I use my cell phone; my desk
 9 a cell phone reimbursement continuously from 2017 to         9 phone; the phone in the hallway. People aren't really
10 present?                                                    10 restricted to one phone, per se.
11 A. I'm not sure of the date. I don't know.                  11 Q. Okay. I see. What do you think the practice is
12 Q. You are not sure of the date when he was                 12 since the Ring Central app has come in? Are people
13 initially approved?                                         13 primarily using their cell phones? Are they still using
14 A. Exactly. It was sort of a chaotic process that I         14 their physical phones or it just depends?
15 just sort of recognized and said, "We need to clean this    15          MR. BRODERICK: Objection.
16 up."                                                        16 A. I see it all.
17 Q. My understanding is he had a reimbursement for           17 Q. I'm sorry?
18 all of 2018, all 2019, and all of 2020?                     18 A. I see people doing all different things.
19 A. Yes.                                                     19 Q. Okay.
20 Q. Is it fair to assume that because the program            20      Are people who receive cell phone reimbursements
21 directors have a cell phone reimbursement, Mr. Mantha       21 ever required to submit the records to show --
22 has a cell phone reimbursement, fair to say they are        22 A. No.
23 calling each other via each other's cell phone at some      23 Q. So the only written documents that the school
24 point?                                                      24 would have relating to reimbursements would be the
                                                     Page 87                                                         Page 89
 1         MR. BRODERICK: Objection.                            1 initial Ring request if there is one; correct?
 2 A. Are you waiting for my answer?                            2 A. Correct.
 3 Q. Yes.                                                      3 Q. Then would there be any documentation from you or
 4 A. Honestly, I don't know. My true perception is             4 Lisa Harrington?
 5 they are calling people on the Ring Central.                 5 A. Documentation from us?
 6 Q. And I think -- I think you said earlier that if           6 Q. In terms of the review and approval process?
 7 you get a cell phone reimbursement, you are required to      7 A. No. Basically we would just review it and we set
 8 use the Ring Central app; is that right?                     8 it up in the HRIS system as a deduction.
 9 A. Yes.                                                      9 Q. Have you ever -- strike that.
10 Q. Is there a written policy on that?                       10          MS. KINGSTON: I don't have too much more.
11 A. No. It is not specifically stated out, no.               11 I'm going to check my notes.
12 Q. But practically speaking that is the requirement?        12 BY MS. KINGSTON:
13 A. Yes.                                                     13 Q. Just for my clarification, before the Ring
14 Q. Are the people on Ring app only the people who           14 Central app came into place, employees who use their
15 have reimbursement or is it all employees?                  15 cell phone would have been calling and taking calls from
16 A. All employees.                                           16 their cell phone directly; is that correct?
17 Q. Do you know if someone were to make a call or            17 A. Yes.
18 receive a call through the app how that would show up on    18 Q. Mr. Padon, you testified that you really don't
19 their phone records, would it show the work number or       19 know anything about Mr. Mantha's specific use of his
20 cell phone number?                                          20 cell phone; is that kind of accurate to say, because you
21         MR. BRODERICK: Objection.                           21 are in HR?
22 A. I don't know what it says on the records. I know         22 A. Yeah, yeah.
23 on the screen it would say -- the extension would come      23 Q. All right. Who at Perkins would have -- outside
24 up, the internal extension would come up.                   24 of Mr. Mantha, obviously, would have a better idea of

                                                                                                     23 (Pages 86 - 89)
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                                                      Page 90                                                          Page 92
 1 that?                                                         1 telephone calls?
 2 A. Can you explain to me what -- I guess I don't              2 A. You can text from it. I don't know anybody that
 3 understand what you are asking.                               3 uses that feature other than the executive team. He
 4 Q. Sure. So I know generally that he gets a                   4 might.
 5 reimbursement and that it was a no-brainer to give that       5 Q. Does the school store the Ring Central app record
 6 to him. I think you testified because he has a need for       6 or would that be on an individual's phone?
 7 it.                                                           7 A. It would be -- they wouldn't be on site here. I
 8      In terms of factually how much he is using that          8 imagine Ring Central would have a way -- if we ever had
 9 day-to-day I think your testimony was that you really         9 a need to look something up.
10 don't know because that is just not your job?                10 Q. Do you maintain kind of like a summary of
11 A. I don't know -- honestly, I don't know that               11 Mr. Mantha's job position in some way? When I say
12 anybody would really be watching what phone Joe uses.        12 "you," I mean Perkins, somewhere in Perkins books or
13 Q. Are there particular people at the school who if          13 records?
14 he was using his cell phone, he would be using his cell      14 A. Yes.
15 phone to call them and they would have knowledge of          15 Q. Okay. Do you know if that has changed since last
16 that?                                                        16 year?
17 A. Possibly. But don't forget, we have Ring Central          17 A. Not anything that was documented.
18 now so they wouldn't know where -- he could be in his        18 Q. Is that just something that is stored on the
19 living room. They probably wouldn't -- in the olden          19 electronic book somewhere?
20 days, yes, I guess I could say to somebody, "Does Joseph     20 A. Really all we would have is his evaluation, which
21 Mantha call you on his cell phone?" They would say,          21 would speak to his accomplishments and then areas for
22 "Yes."                                                       22 the next year.
23      They probably say -- "Explain that to me. What          23 Q. And do you recall seeing anything on his
24 are you asking?"                                             24 evaluations about being on call?
                                                      Page 91                                                          Page 93
 1      If I see somebody on a cell phone, I don't               1 A. I didn't read his evaluation. I hourly doubt it.
 2 whether that call is going through Ring Central or            2 But I didn't read them, to be honest.
 3 another line. I don't really know.                            3 Q. Is there any type of general description of his
 4 Q. For the Ring Central app, you click on that icon.          4 job, not specific to him, that Perkins has and maintains?
 5 Is that correct?                                              5 A. I don't know. I would have to.
 6 A. Yes.                                                       6 Q. I'm thinking specifically when a job opens and it
 7 Q. Then it is like employee by employee listing?              7 is posted, you kind of go through what the job might
 8 A. You could do that or you could, you know, click            8 entail. Do you understand the gist of what I'm talking
 9 on the icon and dial in a number or you could look a          9 about?
10 person up and dial it.                                       10 A. Yes. Yes, there is definitely a job posting, I
11      However, say that somebody -- if you called my          11 don't know if there is a job description. We do have
12 work phone number. That I don't have to click on the         12 job descriptions. Joe's position, I don't know if he
13 icon. It shows up on my phone which is a bad part of         13 has it or not, off the top of my head. Yes, we would
14 the thing. If you called me on my work business number       14 have the job posting from when he applied for the
15 -- at least on my iPhone, I'm speaking to iPhones, I         15 position, yes.
16 don't know that it is somebody calling through Ring          16         MS. KINGSTON: If you could give a copy of
17 Central. You don't know. It comes up in the same             17 that as well.
18 fashion any other call would come so it is a drawback.       18         THE WITNESS: Okay.
19 My point is you don't have to click on the icon to get a     19         MS. KINGSTON: Thank you. Those are all the
20 call or anything. It just comes through.                     20 questions I have for now. I am going to reserve the
21 Q. Is someone able to leave messages on a person's           21 right to reopen this deposition because, as we
22 cell phone through the Ring app?                             22 discussed, Perkins has not searched its records for the
23 A. Yes.                                                      23 document request. I'm not necessarily saying I will
24 Q. Are there texting capabilities or is it just              24 need to redepose, but I'm reserving the right depending

                                                                                                       24 (Pages 90 - 93)
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                                                    Page 94                                                        Page 96
 1 on the documents that we receive. And I just wanted to      1 that. That is their phone and that's why we don't ask
 2 put that on the record.                                     2 for phone bills because I don't want to be in the cell
 3      So Ted might have some additional questions for        3 phone business or the phone business. It is really not
 4 you. But at this point, I will conclude and I will          4 ours to have. We are not managing it in any other way
 5 reserve the right to reopen at a later time.                5 other than the reimbursement for when they do have to
 6         Thank you.                                          6 use it. I'm passionate about this subject. Sorry.
 7         THE WITNESS: Thank you.                             7          MR. BRODERICK: Thank you very much. I'm
 8         MS. KINGSTON: We will be in touch offline           8 all set.
 9 about the documents.                                        9          MS. KINGSTON: I have a couple of follow-up
10         THE WITNESS: Okay. If you could also give          10 questions on that.
11 me a deadline but as much time as you possibly could.      11 BY MS. KINGSTON:
12         MS. KINGSTON: We will talk offline.                12 Q. If you were to find out that an employee who had
13 BY MR. BRODERICK:                                          13 a reimbursement was making zero work-related calls, at
14 Q. Mr. Padon, I just had a couple of questions for         14 that point you would want to reconsider the
15 you.                                                       15 reimbursement. Is that accurate?
16      You had mentioned earlier that there is a policy      16 A. Absolutely, yes.
17 regarding work computers and not using them for personal   17      The problem is there is no way -- like I said, it
18 use?                                                       18 is not our phone and so that becomes problematic because
19 A. Yes.                                                    19 there is no real way to do that unless someone came up
20 Q. And for someone who gets a cell phone                   20 and said, "I don't ever use or I don't have a need."
21 reimbursement of $30 a month, is there any similar         21 Hence, why we decided to sort of go through the written
22 policy with respect to using that phone?                   22 justification that we are not using very well.
23 A. Not on the cell phone policy. But we have a             23 Q. It sounds like to me the concern is, which seems
24 general phone policy that speaks to not using phones for   24 practical, is that you don't want to purport to invade
                                                    Page 95                                                        Page 97
 1 any personal reason.                                        1 an employee's privacy?
 2 Q. When you say phones, though that is not -- like          2 A. Correct.
 3 you get a $30 reimbursement every month; correct?           3 Q. You recommend at some point they are going to be
 4 A. Yes.                                                     4 making some personal calls?
 5 Q. You can use that, your cell phone, your iPhone,          5 A. Correct.
 6 for anything that you want; correct?                        6 Q. But in terms of the scope of their work, you are
 7 A. Yes.                                                     7 interested to some extent what they are doing with their
 8 Q. You are talking about a desk phone that you pick         8 phone. Is that accurate to say?
 9 up and call. You are not supposed to make personal          9 A. Yeah. If they were doing something inappropriate.
10 calls on that phone which is the Perkins number?           10 Again, we have to be careful what is happening within
11 A. Yes.                                                    11 the four walls of Perkins and what happens outside those
12 Q. But you make personal calls on your own cell            12 walls that is not our concern. That is where it gets
13 phone?                                                     13 muddy, to be honest with you.
14 A. No, not while I'm at work. That's not what we           14      If it's something that we observe or somebody
15 do.                                                        15 observes on site, then, of course, if it was something
16 Q. Well, while you are working. You can use that           16 inappropriate then we would intervene. If it is
17 phone after work for any purpose?                          17 something outside of work, then we wouldn't.
18 A. Of course, absolutely.                                  18 Q. You know, I have one kind of final question, you
19 Q. You consider that phone your personal cell phone?       19 spoke about -- you used the term need earlier for some
20 A. It is my phone.                                         20 employees, the 15 to 20, who have reimbursements to use
21         MR. BRODERICK: All right. Thank you.               21 their cell phones. I take that to mean, correct me if
22 Nothing further.                                           22 I'm wrong, that they literally could not carry out their
23 A. I'm pretty clear with employees that it's their         23 job duties unless they would use their cell phones. Is
24 phone, too. And even with managers, we have to respect     24 that an accurate statement?

                                                                                                   25 (Pages 94 - 97)
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                                                              Page 98                                                          Page 100
                                                                         1          COMMONWEALTH OF MASSACHUSETTS.
 1 A. No. No. It is more of a convenience thing.
                                                                         2 COUNTY OF SUFFOLK, SS.
 2 Q. What do you mean by that?                                          3
                                                                         4      I, Lori J. Atkinson, Professional Court Reporter
 3 A. So, you know, we have desk phones here. We have
                                                                           and Notary Public duly and qualified in and for the
 4 phones in the hallway. So, you know, people could                     5 State of Massachusetts do hereby certify that the
                                                                           foregoing transcript is a true and correct transcript of
 5 utilize those.
                                                                         6 my original stenographic notes.
 6      The cell phone reimbursement and people using                      I further certify that I am neither an attorney or
                                                                         7 counsel for, nor related to or employed by any of the
 7 their phones was easier for them. It could be somebody.
                                                                           parties to the action in which this deposition is taken;
 8 I don't want to have to worry about two or three phones.              8 and furthermore, that I am not a relative or employee of
                                                                           any attorney or counsel employed by the parties hereto
 9 Or it could be somebody, you know, they are in and out
                                                                         9 or financially interested in the action.
10 of their office all day. So you get a phone call versus              10
                                                                        11
11 a voicemail or email. I look at it for emergency. It
                                                                           IN WITNESS THEREOF, I have hereunto
12 is certainly, for on call if you want to use that                    12 Set my hand and affixed my Notarial Seal this 30th day
                                                                           of October, 2020.
13 example, I guess that wouldn't be optional. You have to
                                                                        13
14 have it to be on call because you are not physically                 14
                                                                        15
15 here. But other than that, I feel it's more of a
                                                                                 <%20481,Signature%>
16 convenience thing.                                                   16
                                                                                    LORI J. ATKINSON
17 Q. That would also apply to being informally on call
                                                                        17          NOTARY PUBLIC
18 in the way that we spoke about earlier. Is that                      18
                                                                        19
19 accurate?
                                                                        20
20 A. Yes.                                                              21
                                                                                    ***PLEASE NOTE***
21          MS. KINGSTON: That's all that I have. I
                                                                        22 THE FOREGOING CERTIFICATION OF THIS TRANSCRIPT DOES NOT
22 thank you for your time. I will be following up about                   APPLY TO ANY REPRODUCTION AND/OR DISTRIBUTION OF THE
                                                                        23 SAME BY ANY MEANS UNLESS UNDER THE DIRECT CONTROL AND/OR
23 the remaining items that we discussed.
                                                                           SUPERVISION OF THE CERTIFYING COURT REPORTER.
24          THE WITNESS: Okay.                                          24

                                                              Page 99                                                          Page 101
 1         MR. BRODERICK: I have one quick one.                          1 DEPOSITION ERRATA SHEET
 2 BY MR. BRODERICK:                                                     2 Case Caption: MANTHA VS QUOTEWIZARD
 3   Q. You had said, Well, if they are not using their                  3 Deponent: DEREK PADON
 4 phone at all for any work-related purpose. But would                  4 Deposition Date September 11, 2020
 5 getting emails on your smart phone qualify for                        5      To the Reporter:
 6 justifying the $30 reimbursement that you are using data              6 I have read the entire transcript of my Deposition taken
 7 to get emails on your iPhone?                                         7 in the captioned matter or the same has been read to me.
 8   A. It is not written anywhere. But we talked about                  8 I request that the following changes be entered upon the
 9 that a lot when we rolled this policy out and we decided              9 record for the reasons indicated. I have signed my name
10 not to make it.                                                      10 to the Errata Sheet and the appropriate Certificate and
11      But part of informally with Michael, who I report               11 authorize you to attach both to the original transcript.
12 to, is he didn't want Lisa and I approving any that were             12 Page No.         Line No.       Change to
13 just related to just email or just the phone. We just                13
14 felt like we could have other solutions for those.                   14 Reason for change:
15         MR. BRODERICK: All right. Thank you very                     15 Page No.         Line No.       Change to
16 much. Thank you for your time.                                       16
17         MS. KINGSTON: Thank you.                                     17 Reason for change:
18         THE WITNESS: Thank you.                                      18 Page No.         Line No.       Change to
19         THE VIDEOGRAPHER: The time is 1:49. We are 0                 19
20 going off the record. This is the end of the deposition              20 Reason for change:
21 of Derek Padon.                                                      21 Page No.         Line No.       Change to
22         MS. KINGSTON: Full and mini PDF.                             22
23         MR. BRODERICK: I will do the same thing.                     23 Reason for change:
24                                                                      24

                                                                                                              26 (Pages 98 - 101)
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